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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §      CASE NO. 1:13-CR-63 (7)
                                                  §
 SHAWN MAURICE EAGLIN                             §



         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

 the Honorable Zack Hawthorn, United States Magistrate Judge, made and filed Findings of Fact and

 Recommendations regarding the Defendant’s plea of guilty to Count One of the First Superseding

 Indictment in the above-numbered case. The Magistrate Judge accepted the Defendant’s guilty plea,

 recommends that the Defendant be adjudged guilty of the offense to which he pleaded guilty, and

 recommends that the court defer acceptance of the plea agreement until after the court has had an

 opportunity to review the presentence report.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The court accepts the Defendant’s plea, but defers acceptance of the plea agreement

 until the court has reviewed the presentence report.

        It if further ORDERED that, in accordance with the Defendant’s guilty plea and the




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 magistrate judge’s findings and recommendation, the Defendant is adjudged GUILTY of the

 offenses alleged in Count One of the First Superseding Indictment.

        SIGNED this the 2 day of June, 2014.




                                     ____________________________
                                     Thad Heartfield
                                     United States District Judge




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